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UNITED STATES DISTRICT COURT «= 5 0) 001 aa

 

DISTRICT OF MAINE gam
UNITED STATES OF AMERICA) Magistrate No. 13- nt #9 @2— og
: ) COMPLAINT FOR VIOLATION OF “>
v. ) — QLU.S.C. § 841(a)(1))
)
MICHAEL MURPHY -

COMPLAINT
The undersigned complainant, being duly sworn, states:
COUNT ONE
On June 13, 2013, in the District of Maine and elsewhere,
MICHAEL MURPHY
knowingly and intentionally possessed with intent to distribute oxycodone, in violation of
Title 21, United States Code, Section 841(a)(1). It is further alleged that the penalty provisions of
Title 21, United States Code, Section 841(b)(1)(C) apply to the conduct described herein.

The complainant states that this complaint is based on the attached affidavit which is

63th.

Brian Nappi
Task Force Officer
United States Drug Enforcement Administration

incorporated herein by reference.

 

SWORN AND SUBSCRIBED TO before

me this “7 of June, . / VA
George Z. Singfl _ -

United States District Judge

 

 
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AFFIDAVIT OF BRIAN NAPPI
I, Brian Nappi, being duly sworn, do depose and state:

1. I] have been employed as a Task Force Officer of the DEA since May 2013. I am
currently assigned to the DEA's Portland, Maine, Resident Office, within the New England Field
Division. Prior to my assignment with DEA, I worked as a Patrol Officer for Scarborough,
Maine Police Department for approximately six years. As a Patrol Officer I have received
extensive training pertaining to narcotic investigations and the investigation of various crimes
which arise from drug trafficking activities. I have ravtinipated in numerous investigations into
the unlawful distribution of illegal drugs, in violation of Title 21 of the United States Code and
the drug laws of the State of Maine. I have conducted or participated in, among other things,
surveillance, undercover transactions, the execution of search and arrest warrants, debriefings of
informants and confidential sources, and reviews of taped conversations relating to narcotics
trafficking. I have also assisted in the execution of numerous drug-related search and arrest
warrants. This Affidavit is based upon information gained from my investigation, training,
research and experience. |

2: I make this Affidavit in support of the issuance of a criminal complaint charging
Michael Murphy with possession with intent to distribute a mixture or substance containing
oxycodone in violation of Title 21, United States Code, Section 841(a)(1). The information
contained in this affidavit is known to me from eT knowledge and discussions with other
investigating agents. Since this affidavit is being submitted for a limited purpose, I have not
included each and every fact that I know concerning this investigation. Rather, I have set forth
only those facts that relate to the issue of whether probable cause exists that Michael Murphy.
(hereinafter “Murphy”) has committed the above-referenced offense. In support thereof, I

respectfully state the following:

 
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a. On June 13, 2013, law enforcement personnel obtained a federal search warrant to
search a United States Postal Service Express Mail package bearing Express Mail label
#E1732437627US addressed to “Michael Murphey, 32 Dillon Rd, Harrison, ME 04040.”
(hereinafter “Subject Parcel”).

4, Law enforcement personnel executed the search warrant on June 13, 2013 and
opened the Subject Parcel. Inside the Subject Parcel, the officers located a brown padded
envelope that was found to contain two prescription bottles and a glassine baggy. The officers
discovered approximately seventy (70) pills and two hundred seventy-four (274) pills inside the
glassine baggy and the prescription bottles. Based upon the executing officers’ training and
experience, they believe the 70 pills are oxycodone 80 mg pills and the 274 pills are oxycodone
30 mg pills. The name of the patient listed on the prescription bottles is the same name as the
listed sender on the parcels from Florida.

5. Based upon the physical characteristics of the package containing these pills, and
my training and experience, I believe the quantity of the pills recovered is consistent with the
distribution of pills, and not simple possession of the pills.

6. The agents returned the oxycodone pills to the Subject Parcel and repackaged the
Subject Parcel so that it was made to appear as if it had not been opened. Agents then arranged
for the transport of the Subject Parcel to the Post Office in Harrison, Maine svihene te was made
available for customer pick-up. At approximately 12:45 p.m., a white male later identified as
Michael Murphy picked up the Subject Parcel from the post office. He then returned to his
vehicle parked outside the post office whereupon he placed the Subject Parcel inside his vehicle.

Law enforcement personnel then apprehended Murphy.

 
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CONCLUSION
Based on the facts set forth above, ] respectfully request that the Court issue a criminal
complaint charging Michael Murphy with possession with intent to distribute a mixture or
substance containing oxycodone, in violation of Title 21, United States Code, Section 841(a)(1).

fut

Brian Nappi
Task Force Officer
United States Drug Enforcement Administration

 

Sworn to and subscribed before me this 14th day of June, 2013

 

 
